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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY



In re:                                  : Case No.: 16-34616
                                        : Chapter: 7
CHRISTINE CRANDON                       :
VICTOR CRANDON,                         : Judge:    John K. Sherwood
                                        :
             Debtors                    :
                                        :
TRAVIS ROEMMELE,                        :
                                        :    COMPLAINT TO DETERMINE
             Plaintiff,                 :   DISCHARGEABILITY    OF DEBT
v.                                      :
                                        :
VICTOR CRANDON,                         :
                                        :
             Defendant.                 :
                                        :
                                        :

      Plaintiff    Travis    Roemmele     (“Plaintiff”),      by   and    through    his

attorneys,      Cleary      Giacobbe    Alfieri     Jacobs,     LLC,     complains       of

Defendant Victor Crandon (“Defendant”) as follows:


                                       JURISDICTION

        1.   This court has jurisdiction over this proceeding under 28

U.S.C.A. §§ 157 and 1334.
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        2.    Venue of this proceeding is proper under 28 U.S.C.A. §§

1408 and 1409.


        3.    This is a core proceeding under 28 U.S.C.A. § 157(b).


                                     CLAIM FOR RELIEF
        4.    Plaintiff is a creditor of Defendant by reason of debts

incurred under a Stock Purchase Agreement (the “Agreement”), entered

into by the parties on or about May 15, 2013, under which Plaintiff

paid Defendant $21,000.00 and received nothing in return.

        5.    Plaintiff     was   friendly      with        Defendant     and     has    known

Defendant for many years.

        6.    Plaintiff had business experience with Vincent Crandon as

an    investor   with     his   previous   employer         and,   as   such,    he     trusted

Defendant.

        7.    Defendant     represented      to    Plaintiff            that     he     is     an

experienced investment banker and the managing director of MidOil

USA, LLC.

        8.    In or around 2013, Plaintiff visited Christine Crandon and

Defendant at their home for coffee. Defendant informed Plaintiff that

he created an entity, 2AC, to bring 2UP Gaming PLC, an Australian

based gaming company, to the United States.

        9.    Defendant    used 2AC as his alter ego for conducting his

personal business.

        10.   Defendant    induced     Plaintiff       to    invest      money    with       him,

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representing that Plaintiff would make his money back and then some.

He told Plaintiff that he had 2,000,000 shares of 2UP Gaming PLC, and

that he would transfer 42,000 of those shares to Plaintiff within

approximately thirty (30) days after investing with Defendant.

     11.      Under the Agreement, Defendant agreed to provide Plaintiff

with 42,000 shares of 2UP Gaming PLC’s common stock.

     12.   Pursuant to Article IV of the Agreement, “2AC shall issue

(or cause to be issued) certificates for shares in the name of the

Buyer.        The   certificates     shall     be   issued      directly     by   the

corporation’s transfer agent within (10) days of settlement.”

     13.   Plaintiff    never    received    any    type   of   regular     corporate

reports that identify him as a shareholder and delineate the value of

his shares in 2UP Gaming PLC.

     14.   Since the inception of the Agreement, Plaintiff contacted

Defendant on several occasions, verbally and in writing, to acquire

proof of ownership of his shares so that he can otherwise sell his

shares, realize a profit, or calculate a loss, as per the Agreement.

     15.   Defendant has never provided Plaintiff with adequate proof

that he is the owner of 42,000 shares of 2UP Gaming PLC’s stock.                       He

received nothing of tangible or marketable value in exchange for his

$21,000.00.

     16.   By correspondence dated May 11, 2015, Plaintiff’s counsel

demanded the return of Plaintiff’s $21,000.00 from Defendant, but he

still has not returned Plaintiff’s $21,000.00.


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     17.       On or about December 1, 2015, Plaintiff filed a Complaint

in the Superior Court of New Jersey, Bergen County, Law Division

against    Defendant,       alleging   fraud    in   the    inducement,      common    law

fraud, breach of fiduciary duty, breach of implied covenant of good

faith and fair dealing, breach of contract, recission, conversion,

and unjust enrichment.

     18.       On or about November 7, 2016, the Court entered Plaintiff’s

request for an Entry of Default against Defendant.

     19.       As Plaintiff was preparing his application for Entry of

Default, Defendant filed the present petition under Chapter 7 of the

Bankruptcy Code, intending to avoid payment of the                      $21,000.00 by

having the debt discharged in bankruptcy.

     20.       Defendant    acknowledges      that   he    committed    fraud    and     is

liable    to    Plaintiff    by   including     Plaintiff    as   a   creditor   in    his

Petition for Bankruptcy.

     21.       Thus, for the reasons set forth herein, Plaintiff’s claim

is nondischargeable under 11 U.S.C.A. § 523(a)(2)(A).



     WHEREFORE, Plaintiff prays for:

               a. A determination that the indebtedness of Defendant to

               Plaintiff is nondischargeable;

               b. Judgment against Defendant for such indebtedness;

               c. Interest, attorney’s fees, and costs; and

               d. Such other and further relief as is just and proper.


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                               CLEARY GIACOBBE ALFIERI JACOBS LLC
                               Attorneys for Plaintiff, Travis Roemmele


                                       By: /s/ Scott A. Sears
Dated: March 16, 2017                          Scott A. Sears




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